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               Appendix 1
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Exhibit   Date             Description
  A.      Dec. 4, 2015     E-mail from D. Davies to T. Condon
  B.      April 4, 2018    Al Jazeera’s Privilege Log
  C.      Dec. 15, 2015    E-mail from C. Pendleton to C. Swisher
  D.      Dec. 16, 2015    E-mail from C. Pendleton to C. Swisher
  E.      Dec. 17, 2015    E-mail from C. Pendleton to C. Swisher
  F.      Dec. 21, 2015    E-mail from M. McGill to C. Pendleton
  G.      Dec. 24, 2015    E-mail from R. Corn-Revere to C. Swisher
  H.      Jan. 31, 2018    Excerpt from Al Jazeera’s Responses and Objections to
                           Plaintiffs’ Second Set of Interrogatories
  I.      Dec. 16, 2015    Compilation of E-mails sent from J. Young to Various
                           Medical Providers
  J.      Dec. 9, 2015     Draft of Documentary Tr.
  K.      April 13, 2018   Al Jazeera’s Privilege Log of Inadvertently Produced DWT
                           Documents
  L.      Nov. 14, 2017    Excerpt from Al Jazeera’s Responses and Objections to
                           Plaintiffs’ First Set of Interrogatories
  M.      Jan. 31, 2018    Excerpt from Al Jazeera’s Responses and Objections to
                           Plaintiffs’ Second Set of Requests for Admissions
  N.      Various dates    Compilation of E-mails Reflecting Legal Advice
  O.      Feb. 12, 2018    Correspondence from R. Stevens to J. Meriweather
  P.      Mar. 12, 2018    Ltr. from S. Lerner to R. Stevens
  Q.      Dec. 29, 2015    E-mail from J. Young to C. Swisher
  R.      Dec. 29, 2015    E-mail from J. Young to C. Swisher
  S.      Dec. 21, 2015    E-mail from P. Rees to J. Brady
  T.      Dec. 21, 2015    E-mail from P. Rees to J. Brady
  U.      Dec. 26, 2015    E-mail from P. Charley to C. Swisher and P. Rees
  V.      Dec. 26, 2015    E-mail from P. Charley to C. Swisher and P. Rees
  W.      April 4, 2018    Al Jazeera’s Redactions Log




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